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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS

FAYETTEVILLE DIVISION
UNITED STATES OF AMERICA PLAINTIFF
V. CASE NO. 5:22-CR-50058-001 & 003
STEPHEN ALEXANDER BOYLES and
BRANDON GARZA DEFENDANTS
ORDER

 

Before the Court is Separate Defendant Brandon Garza’s Unopposed Motion for
Continuance of Trial filed March 17, 2023 (Doc. 68). Counsel for Co-Defendant, Stephen
Alexander Boyles (John Gussio/Aaron Wiley), and Plaintiff were contacted and have no
objection to this continuance.

IT APPEARING to the Court that a continuance is appropriate, it is ORDERED that
the Motion be, and it is hereby, GRANTED, and the case is reset for a JURY TRIAL to
commence at the call of court during its trial term beginning on JUNE 12, 2023, at 9:00
a.m. A pretrial conference shall be conducted on JUNE 8, 2023, at 9:00 a.m. The
following pretrial deadlines shall apply:

° Pursuant to Federal Rule of Criminal Procedure 12(c), any defense,

objection or request capable of determination without trial of the general
issue! must be raised by written motion filed not later than twenty-one (21)

days prior to the trial date set by the Court. Any response to such a motion
must be filed within seven (7) days after service of the motion. These time

 

1 Those matters include, but are not limited to, those listed in Fed. R. Crim. P. 12(b)(3): (1) defects in the
institution of the prosecution, (2) defects in the indictment, (3) suppression of evidence, and (4) severance
under Fed. R. Crim. P. 14. Also included, without limitation, are (5) selective or vindictive prosecution, (6)
outrageous Governmental misconduct, (7) misjoinder, (8) pre-indictment delay, (9) speedy trial, (10)
prejudicial publicity, (11) lack of personal jurisdiction, (12) Posse Comitatus Act (18 U.S.C. 1385], (13)
recantation as a defense to perjury, (14) limitations, (15) double jeopardy, (16) multiple sentencing, and
(17) immunity.
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limits shall not apply, however, in the event the Government has not
provided discovery to the Defendant.

° Motions in Limine - due two (2) weeks prior to trial:

° Responses to Motions in Limine - due one (1) week prior to trial;

° Proposed Jury Instructions (agreed/disputed) - due one (1) week prior to
trial; and

° Witness and Exhibit Lists - due one (1) business day prior to the pretrial
conference

The Court grants this continuance based on its findings that the ends of justice
served by taking such action outweigh the best interest of the public and the defendant in
a speedy trial, because otherwise the defendant's counsel would be denied the
reasonable time necessary for effective preparation, taking into account the exercise of
due diligence. See 18 U.S.C. § 3161(h)(7)(B)(iv). The time between the trial date of April
3, 2023, and the reset trial term of June 12, 2023, which potentially extends through June
16, 2023, is excludable for speedy trial purposes. See 18 U.S.C. § 3161(h)(7)(A).

IT IS SO ORDERED this 21 day of Marg

   

 

 

EIMOTHY L. BROOKS

WTED STAPES DISTRICT JUDGE
